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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                      Plaintiff,                )
                                                )   C.A. No. 1:19-cv-998-RGA
       v.                                       )
                                                )
IMPAX LABORATORIES, LLC,                        )
                                                )
                      Defendant.                )
                                                )
                                                )


            PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE OF
                    DEFENDANT IMPAX LABORATORIES, LLC

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby provides notice that it dismisses without prejudice all claims by

Plaintiff against Defendant Impax Laboratories, LLC. Each party shall bear its own costs,

expenses, and attorneys’ fees.


Dated: December 16, 2019                              Respectfully submitted,

                                                    /s/__Stamatios Stamoulis_____________
                                                    Stamatios Stamoulis (#4606)
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              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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                                                   Attorney(s) for Plaintiff Symbology
                                                   Innovations, LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that on December 16, 2019, I electronically filed the above documents with

the Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                                    /s/ Stamatios Stamoulis
                                                    Stamatios Stamoulis (#4606)




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              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
